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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                                 )
                                                        )       Case No. 24-12624-KHT
 DNC AND TCPA LIST SANITIZER, LLC                       )
 EIN: XX-XXXXXXX                                        )       Chapter 11
                                                        )       Sub-Chapter V
          Debtor                                        )

      MOTION FOR APPROVAL OF INTERIM COMPENSATION PROCEDURES

          DNC and TCPA List Sanitizer, LLC, Debtor-in-Possession (the “Debtor”), by and through
 undersigned counsel, for its Motion for Approval of Interim Compensation Procedures pursuant
 to 11 U.S.C. § 105(a), 327, 330, 331, and L.B.R. 2016-2 (the “Motion”), respectfully states as
 follows:
          1.       The Debtor filed its Voluntary Petition for relief under Chapter 11 of Title 11 of
 the United States Code (the “Bankruptcy Code”) on September 30, 2024 (the “Petition Date”) and
 is operating as a debtor-in-possession.
          2.       The Debtor filed its Voluntary Petition for relief under Chapter 11 of Title 11 of
 the United States Code (the “Bankruptcy Code”) on May 16, 2024 (the “Petition Date”) and is
 operating as a debtor-in-possession.
          3.       The Debtor provides services under the Telephone Consumer Protection Act
 (“TCPA”) through phone number suppression, compliance, and risk mitigation service. The
 Debtor helps telecommunication businesses comply with TCPA regulations and avoid calling
 TCPA litigators.
          4.       The Debtor maintains a management agreement with Cashyew Holding, an
 affiliated entity, for 60% of the Debtor's gross revenues. This arrangement exists because the
 Debtor company has no employees; Cashyew Holding performs all management work related to
 the Debtor’s services.
          5.       The bankruptcy filing was prompted due to a disfavorable judgment entered in
 litigation with Ringba, LLC..
          6.       Section 331 of the Bankruptcy Code permits a professional person employed under
 11 U.S.C. § 327 to apply to the Court not more than once every 120 days, or more often if the
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 Court permits, for compensation for services rendered before the date of such an application or
 reimbursement for expenses incurred before such date as is provided under 11 U.S.C. § 330.
        7.     In the event the Court authorizes the Debtor to employ other professionals
 (individually, a “Professional,” and collectively, the “Professionals”), the Debtor wishes to
 establish a reasonable procedure, as permitted under 11 U.S.C. § 331, which would permit each
 Professional to be paid their respective expenses, and a portion of their respective fees, on a
 monthly basis. The defined terms “Professional” and “Professionals” include, but are not limited
 to, Wadsworth Garber Warner Conrardy, P.C.
        8.     Pursuant to 11 U.S.C. § 331 and L.B.R. 2016-2(b), the Debtor requests the
 following procedure be approved by the Court in connection with Professionals’ employment by
 the Debtor:
               a.      Once a month, and within fourteen (14) days from the end of the month for
        which compensation is sought, Professionals shall submit a detailed monthly statement (the
        “Statement”) including a billing statement to the Debtor or party responsible for payment
        in a form generally acceptable for fee applications.
               b.      Professionals shall also submit a monthly statement to Debtor’s counsel, the
        Office of the U.S. Trustee, any appointed chapter 11 trustee, subchapter V trustee, any
        debtor-in-possession lender, and as requested by parties-in-interest (collectively, the
        “Noticed Parties”).
               c.      The Noticed Parties shall have fourteen (14) days from receipt of the
        Statement to raise any objections to the requested fees in the monthly statement,
        specifically stating the nature of the objection and the amount of the objectionable fees.
               d.      If the parties are unable to resolve any dispute, they may file a motion
        seeking resolution by the Court.
               e.      Once the fourteen (14) day notice period has passed and/or all objections
        have been resolved, the Debtor may pay the Professionals 80% of the fee portion of the
        Statement and 100% of the expense portion of the Statement without further order of the
        Court. All monthly fees paid without a court order shall be subject to interim and final fee
        applications filed with the Court, and therefore subject to disgorgement.
               f.      To the extent any fees or expenses are not finally approved by the Court,
        said fees and expenses shall be offset against the 20% hold-back or be disgorged from the
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        Professional as appropriate.
        9.      If the relief requested herein is granted, Professionals shall (a) comply with 11
 U.S.C. § 330, L.B.R. 2016-1 and L.B. Form 2016-1.1 for interim and final compensation approval,
 (b) file formal interim fee applications at least once every 120 days and not more than every 180
 days, and (c) seek final approval of all interim compensation fee applications by filing a final fee
 application. In addition, the failure of any interested party to object to a Statement shall not
 constitute waiver of the right to object to a formal interim or final fee application and the
 Professionals will abide by any orders governing use of cash collateral.
        10.     As stated above, the Debtor has or will seek Court authority to hire the Professionals
 in accordance with 11 U.S.C. § 327. Debtor believes that such procedures are necessary based
 upon the complexity of Debtor’s affairs and the expected extent of the work in this case. The
 Professionals will need to be paid monthly in order to continue to assist the Debtor. Therefore,
 pursuant to L.B.R. 2016-2(a)(1), cause exists necessitating interim compensation procedures.
        11.     Pursuant to L.B.R. 2016-2(a)(2), subject to an anticipated cash collateral order, it
 is anticipated that the Debtor will have sufficient cash reserves available throughout this case that
 will allow the Debtor to pay Professionals and other potential administrative priority claimants on
 a monthly basis.
        12.     Pursuant to L.B.R. 2016-2(a)(3), the Debtor estimates that the projected monthly
 fees and expenses of the Professional will be as follows: Wadsworth Garber Warner Conrardy,
 P.C. between approximately $2,000.00–$5,000.00 per month, but may be greater or lesser
 depending upon the level of litigation in the case.
        WHEREFORE, the Debtor respectfully requests that the Court enter an Order, a proposed
 form is filed herewith, approving and establishing the requested interim compensation procedures
 for each Professional in the manner set forth above, and granting such other relief deemed
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 appropriate.


 Dated: October 7, 2024      Respectfully submitted,
                             /s/ Aaron A. Garber
                             Aaron A. Garber, #36099
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                                VERIFICATION OF DEBTOR
         I, Michale O’Hare, owner and manager of DNC and TCPA List Sanitizer, LLC, do verify
 the statements in this Motion, and Debtor will have sufficient cash to pay its professionals and
 other potential administrative priority claimants on a monthly or other specified interim basis.


 Dated: October 7, 2024                      Respectfully submitted,

                                             DNC AND TCPA LIST SANITIZER, LLC


                                             /s/ Michael O’Hare
                                             Michael O’Hare
                                             Title: Managing Member
